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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA               )
                                       )
       v.                              )        CRIMINAL ACTION NO.
                                       )           2:12cr221-MHT
MARK EDWARD ELLIOTT                    )                (WO)

                           OPINION AND ORDER

       Defendant Mark Edward Elliott has pleaded guilty to

one count of conspiracy to distribute 500 grams or more

of a mixture or substance containing methamphetamine in

violation of 21 U.S.C. § 846 & 841(a)(1).                  This matter is

now before the court on Elliott’s motion for evaluation,

which essentially makes two requests: (1) a competency-

for-trial evaluation and (2) a mental-health evaluation

for sentencing purposes.            The motion will be granted.



                              I. Competency

       “At any time after the commencement of a prosecution

for    an    offense    and    prior       to    the   sentencing   of     the

defendant, ... the defendant ... may file a motion for a
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hearing   to   determine      the       mental    competency     of     the

defendant.”    18 U.S.C. §4241(a).          “The court shall grant”

such motion “if there is reasonable cause to believe that

the defendant may presently be suffering from a mental

disease or defect rendering him mentally incompetent to

the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist

properly in his defense.”            Id.    The court may order a

defendant to be committed for a reasonable period to the

custody   of   the   Attorney       General      to   be   placed     in   a

suitable Bureau of Prisons facility for a competency

examination.     18 U.S.C. §§ 4241(b); 4247(b).

    In this case, based upon the representations made by

counsel for Elliott in his motion for evaluation and

during a conference call held on the record on June 12,

2014, the court concludes that there is reasonable cause

to believe Elliott may not be competent.                   Specifically,

counsel for Elliott indicates that she “questions whether

Elliott’s mental state and condition would preclude him



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from being competent to stand trial and for purposes of

sentencing,” Motion for Mental Evaluation (Doc. No. 573)

at 1, based in part on Elliott’s repeated pro se filings

in this case, head trauma he has apparently suffered

while incarcerated during the pendency of this case,

reported lifelong history of drug abuse, and allegations

that he committed sexual assault.

          The government has no objection to a competency

evaluation and a competency hearing.                   The court will,

therefore, order the Bureau of Prisons to do a competency

evaluation       of    Elliott,     and,     after    receipt     of       the

evaluation, the court will hold a hearing.



                        II. Presentence Study

       During a conference call held on the record on June

12, 2014, counsel for Elliott indicated that she is also

requesting the evaluation for the purpose of assisting

the     court    in   fashioning      an   appropriate      sentence        if

Elliott is found competent.                The court construes this



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request as a motion for a presentence study pursuant to

18 U.S.C. § 3552(a).

       “Although district courts are no longer bound to

follow the Sentencing Guidelines after United States v.

Booker, 543 U.S. 220 (2005), they still must consult the

Guidelines and take them into account when sentencing

defendants.”       United States v. Todd, 618 F. Supp. 2d

1349, 1352-53 (M.D. Ala. 2009) (Thompson, J.).                The court

must    calculate      the     applicable     range     of    sentences

recommended by the Guidelines.           The court may then decide

to impose a sentence outside of the Guidelines system,

commonly known as a “variance.”

       The court is bound, however, to impose a sentence

that is reasonable.          The factors set for in 18 U.S.C.

§   3553(a)    guide     the    court’s     determination       of       the

reasonableness of a sentence.           Those factors are (1) the

nature and circumstances of the offense; (2) the history

and characteristics of the defendant; (3) the need for

the sentence imposed to punish the offender, protect the



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public from the defendant, rehabilitate the defendant,

deter others, and provide medical care; (4) the kinds of

sentences available; (5) the sentencing range established

by the Sentencing Guidelines; (6) any pertinent policy

statements issued by the Sentencing Commission; (7) the

need to avoid unwarranted sentence disparities among

defendants    with    similar       records       who   have    been    found

guilty   of    similar     conduct;         and    (8)    the    need     for

restitution.       18 U.S.C. § 3553(a).

    U.S. Probation officers routinely prepare presentence

investigation       reports     to        assist    the    court       during

sentencing pursuant to 18 U.S.C. § 3552(a).                        However,

§ 3552(b) also authorizes the court to order a “study of

the defendant” if it “desires more information than is

otherwise available to it as a basis for determining the

sentence to be imposed.”            18 U.S.C. § 3552(b).

    While,     ordinarily,      a     §    3552(b)      study   “shall    be

conducted     in     the      local        community      by     qualified

consultants,” the statute also authorizes the court to



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order that the study be done by the Bureau of Prisons

upon the finding of “a compelling reason.”                  18 U.S.C. §

3552(b).    In this case, the court finds that the fact

that Elliott will already be committed to Bureau of

Prisons    custody     for   the        purposes   of   a    competency

evaluation constitutes a compelling reason to order that

the § 3552(b) study be conducted by the Bureau of Prisons

as well.    Moreover, Elliott himself has asked that the

evaluation be done by the Bureau of Prisons.



                                   ***

    Accordingly, it is ORDERED that the motion for a

mental health evaluation (doc. no. 573) made by defendant

Mark Edward Elliott is granted.

    Furthermore, pursuant to 18 U.S.C. §§ 4241(b) and

§ 3552(b), it is ORDERED as follows:

    (1) Pursuant to the provisions of 18 U.S.C. §§ 4241

and 4247(b) & (c), the United States Marshal for this

district shall immediately remove defendant Elliott to



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the custody of the warden of an appropriate institution

as may be designated by the Attorney General, where he is

to   be   committed      for    the    purpose   of   being    observed,

examined, and treated for a period not to exceed 30 days

by one or more qualified psychiatrists or psychologists

at the institution.            The 30-day period shall be counted

from the day defendant Elliott arrives at the designated

institution.

      (2) Pursuant to 18 U.S.C. § 4247(c), the examining

psychiatrists       or   psychologists        conducting      the   mental

examination of defendant Elliott shall report in writing

to this court within 45 days from the date of defendant

Elliott’s      arrival     at    the       institution   as    to    their

findings,      opinions,       and    conclusions     relative      to    the

competency or incompetency of defendant Elliott.

      (3) Furthermore, pursuant to 18 U.S.C. § 3552(b), the

examining psychiatrists or psychologists shall evaluate

defendant      Elliott’s       psychological      condition      for      the

purposes of sentencing and shall include their findings



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in either the competency evaluation or in a separate

report to be presented to this court at the same time as

the competency evaluation.         In particular, the report or

reports shall address:

    (A)   Defendant      Elliott’s      psychological      condition,

particularly as it may relate to his repeated pro se

filings in this case, head trauma he has reportedly

suffered while incarcerated during the pendency of this

case, his reported lifelong history of drug abuse, and

allegations that he committed sexual assault; and

    (B) Any other matters the Bureau of Prisons believes

are pertinent to the factors set forth in 18 U.S.C.

§ 3553(a).

    DONE, this the 13th day of June, 2014.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
